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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

www.flsb.uscourts.gov

In re: Case No. 22-14766-SMG
Chapter

RALPH LEVI SANDERS, JR.

Debtor /
OBJECTION TO CLAIM

IMPORTANT NOTICE TO CREDITOR:
THIS IS AN OBJECTION TO YOUR CLAIM

This objection seeks either to disallow or reduce the amount or change the
priority status of the claim filed by you or on your behalf. Please read this objection
carefully to identify which claim is objected to and what disposition of your claim is
recommended.

If you disagree with the objection or the recommended treatment, you must
file a written response WITHIN 30 DAYS from the date of service of this objection,
explaining why your claim should be allowed as presently filed, and you must serve
a copy to the undersigned attorney OR YOUR CLAIM MAY BE DISPOSED OF IN
ACCORDANCE WITH THE RECOMMENDATION IN THIS OBJECTION. -

If your entire claim is objected to and this is a chapter 11 case, you will not
have the right to vote to accept or reject any proposed plan of reorganization until
the objection is resolved, unless you request an order pursuant to Bankruptcy Rule
3018(a) temporarily allowing your claim for voting purposes.

The written response must contain the case name, case number, and must be
filed with the Clerk of the United States Bankruptcy Court.

Pursuant to Bankruptcy Rule 3007 and Local Rule 3007-1, the debtor object(s) to
the following claim filed in this case *:

 

 

Claim Amount of Basis for Objection and
No. Name of Claimant Claim Recommended
Disposition
4-1 Internal Revenue $19,865.66 The Debtor objects to the priority
Service claim of $14,337.83. The Debtor

did not owe sufficient income for
this tax amount, and he believes it

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it relates back to an issue that he

had with identity theft. As such,

the Debtor objects to the claim with
the exception of $247.11 in priority

tax from 2012. The remaining amounts
should be stricken as a priority claim.

“Notwithstanding the requirements of Bankruptcy Rule 3007, up to five objections to
claim may be included in one pleading. (See Local Rule 3007-1(C).)

Respectfully Submitted,

/s/ Nicholas G. Rossoletti
RON S. BILU

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The party filing this objection to claim must file a certificate of service in accordance with
Local Rule 2002-1(F).

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